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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF OKLAHOMA

HEATHER SMITH, individually and on
behalf of all others similarly situated,
                                                   Case No. 5:23-CV-00559-D
        Plaintiff,

v.                                                 CLASS ACTION

WHALECO INC. DBA TEMU,

        Defendant.

       PLAINTIFF’S CORRECTED NOTICE OF SUPPLEMENTAL AUTHORITY

     Plaintiff Heather Smith, individually and on behalf of all others similarly situated,

 submits this Notice of Supplemental Authority regarding Defendant Whaleco, Inc. d/b/a

 Temu’s (“TEMU”) Motion to Compel Arbitration (Dkt. 11, 12):

           1.        On October 13, 2023 a court of the Middle District of Florida issued an

 opinion on a motion to compel arbitration brought by Whaleco, Inc involving the

 arbitration provision at issue in Defendant’s Motion to Compel arbitration (Dkts. 11 and

 12). See Johnson v. Whaleco, Inc., Case No. 5:23-cv-403-GAP-PRL (M.D. Fla. Oct. 13,

 2023) (a copy of the decision is attached as Exhibit A hereto).

            2. Pursuant to LCvR7.1(m), Plaintiff avers that this newly-issued authority is

 relevant to Defendant Whaleco, Inc.’s terms of use on its website at issue here. See

 Plaintiff’s Opposition to Defendant’s Motion to Compel Arbitration, Dkt. 21, at pp. 8-24

 (discussing whether Defendant establishes that an agreement was formed between the

 parties based on Defendant’s terms of use).
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                                     Respectfully submitted,

                                     /s/ Kathy R. Neal
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                                     Counsel for Plaintiff and the Putative Class




        CERTIFICATE OF ELECTRONIC SERVICE AND FILING

I hereby certify that on this 19th day of October 2023, I caused the foregoing
instrument to be filed with the Clerk of the Court using the ECF System for filing,
with electronic service to be made via CM/ECF to those registered participants of
the ECF System.



                                     /s/ Kathy R. Neal




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